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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

 PARKERVISION, INC.

                           Plaintiff,

          v.

 QUALCOMM INCORPORATED,                        CASE NO.: 6:14-CV-00687-PGB-
 QUALCOMM ATHEROS, INC.                        KRS

                           Defendants.



               JOINT MOTION TO DISMISS CERTAIN CLAIMS

          Plaintiff ParkerVision, Inc. (“ParkerVision”) seeks to narrow the scope

 of this proceeding, and Defendants Qualcomm Incorporated and Qualcomm

 Atheros, Inc. (“Defendants”) do not oppose.

          ParkerVision and Defendants therefore request that the Court dismiss

 each of ParkerVision’s claims for relief against Defendants with prejudice,

 and each of Defendants’ counterclaims for relief against ParkerVision

 without prejudice, for claim 107 of U.S. Patent No. 7,039,372. For avoidance

 of doubt, the parties’ claims and counterclaims related to claims 99, 100, and

 126 of U.S. Patent No. 7,039,372 will not be dismissed and will remain at-

 issue.
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 January 21, 2022

 Respectfully submitted,

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 Dated: January 21, 2022            By: /s/Eamonn Gardner

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                       CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing

 document has been served on all counsel of record via the Court’s ECF

 system on January 21, 2022.



                                      /s/ Ava K. Doppelt
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